Case
Case 1:17-cr-00101-LEK
     1:18-mc-00086-LEK-KSC
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                                197-4 7Filed
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                                              04/11/18
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                                      MINUTES



  CASE NUMBER:            1:18-MC-00086-LEK-KSC
  CASE NAME:              Department of Commerce and Consumer Affairs, State of
                          Hawaii
                          In re: Anthony T. Williams
                          In re: United States of America
  ATTY FOR                Daniel K. Jacob
  PETITIONER:
  ATTYS FOR               Lars R. Isaacson
  RESPONDENT:             Ronald G. Johnson


        JUDGE:      Kenneth J. Mansfield          REPORTER:        C6 - FTR

        DATE:       04/03/2018                    TIME:            1:35 - 1:40


 COURT ACTION: EP:          [1] DEPARTMENT OF COMMERCE AND CONSUMER
                            AFFAIRS, STATE OF HAWAII’S MOTION TO QUASH
                            SUBPOENA TO PRODUCE DOCUMENTS,
                            INFORMATION OR OBJECTS IN A CRIMINAL CASE
                            (CR. NO. 17-00101 LEK) hearing not held.

 Respondent Anthony T. Williams is not present.

 U.S. Marshal, Gin Ortiz informs the Court of their efforts on bringing Mr. Williams in for
 this hearing.

 Hearing on [1] Department of Commerce and Consumer Affairs, State of Hawaii’s
 Motion to Quash Subpoena to Produce Documents, Information or Objects in a Criminal
 Case (Cr. No. 17-00101 LEK) is CONTINUED to April 4, 2018 at 10:00 a.m. before
 Magistrate Judge Kenneth J. Mansfield.

 Respondent Anthony T. Williams to be present in Court for this hearing.

 Submitted by: Bernie Aurio, Courtroom Manager

 cc: USMS
                                             Exhibit 3
CM/ECF V6.1.1 **LIVE**-Display Receipt                                                    Page 1 of 2
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MIME-Version:1.0
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To:hawaii_cmecf@hid.uscourts.gov
Message-Id:<2424226@hid.uscourts.gov>
Subject:Activity in Case 1:18-mc-00086-LEK-KSC Department of Commerce and Consumer
Affairs, State of Hawaii v. Williams Motion Hearing
Content-Type: text/html

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                                         U.S. District Court

                                          District of Hawaii

Notice of Electronic Filing

The following transaction was entered on 4/3/2018 at 2:23 PM HST and filed on 4/3/2018
Case Name:           Department of Commerce and Consumer Affairs, State of Hawaii v. Williams
Case Number:         1:18-mc-00086-LEK-KSC
Filer:
Document Number: 7

Docket Text:
EP: Motion Hearing held on 4/3/2018.

Respondent Anthony T. Williams is not present.

U.S. Marshal, Gin Ortiz informs the Court of their efforts on bringing Mr. Williams in for
this hearing.

Hearing on [1] Department of Commerce and Consumer Affairs, State of HawaiisMotion
to Quash Subpoena to Produce Documents, Information or Objects in a Criminal Case
(Cr. No. 17-00101 LEK) is CONTINUED to April 4, 2018 at 10:00 a.m. before Magistrate
Judge Kenneth J. Mansfield.

Respondent Anthony T. Williams to be present in Court for this hearing.

(FTR-Ctrm C6 - FTR 1:35 - 1:40.) (Magistrate Judge KENNETH J. MANSFIELD)(bbb)


1:18-mc-00086-LEK-KSC Notice has been electronically mailed to:

Ronald G. Johnson    ron.johnson@usdoj.gov, CaseView.ECF@usdoj.gov,




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USAHI.ECFMajorCrimes@usdoj.gov, dawn.aihara@usdoj.gov

Lars R. Isaacson   hawaii.defender@earthlink.net

Daniel K. Jacob    daniel.k.jacob@hawaii.gov

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The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1095854936 [Date=4/3/2018] [FileNumber=2424224-0]
[596be1686f8e4c76c0ed7292d8ee7047a4b67c1b5e223f07789395afafe9b74eac2a
1b1c4f27ebedc0f07038097813733e085e82bdbbda6e1c161666d1b0a65b]]




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